           Case 1:00-cr-05455-OWW Document 148 Filed 05/19/06 Page 1 of 1


 1
 2
 3
 4
 5
 6                          UNITED STATES DISTRICT COURT
 7                         EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,            )     1:00-cr-5455 OWW
                                          )
10                       Plaintiff,       )     ORDER RE: SATISFACTION OF
                                          )     RESTITUTION
11        v.                              )
                                          )
12   JOHN STEVEN GILLETTE,                )
                                          )
13                       Defendant.       )
                                          )
14                                        )
15
16        The Probation Officer advises that restitution in this case
17   has been paid in full.      Accordingly,
18        IT IS ORDERED that the restitution obligation previously
19   ordered, jointly severally as to all Defendants, is deemed
20   satisfied in full.
21
22   IT IS SO ORDERED.
23   Dated: May 18, 2006                   /s/ Oliver W. Wanger
     emm0d6                           UNITED STATES DISTRICT JUDGE
24
25
26
27
28

                                         1
